         Case 22-1374, Document 52, 10/07/2022, 3396088, Page1 of 70




   No. 22-1374    UNITED STATES COURT OF APPEALS
                      FOR THE SECOND CIRCUIT
                              ___________________________

    NATIONAL SHOOTING SPORTS FOUNDATION, INC., BERETTA U.S.A. CORP.,
    DAVIDSON'S, INC., GLOCK INC., CENTRAL TEXAS GUN WORKS, HORNADY
  MANUFACTURING COMPANY, LIPSEY'S LLC, OSAGE COUNTY GUNS LLC, RSR
 GROUP, INC., SHEDHORN SPORTS, INC., SIG SAUER, INC., SMITH & WESSON INC.,
 SPORTS SOUTH LLC, SPRAGUE'S SPORTS INC., STURM, RUGER & COMPANY, INC.,
                                                  Plaintiffs-Appellants,
                                        v.
     LETITIA JAMES, in her official capacity as New York Attorney General,
                                                  Defendant-Appellee.
                              ___________________________


            On Appeal from the United States District Court for the
               Northern District of New York, No. 21-cv-1348
                              ___________________________

                  BRIEF FOR PLAINTIFFS-APPELLANTS
                              ___________________________

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October 7, 2022
           Case 22-1374, Document 52, 10/07/2022, 3396088, Page2 of 70




                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1(a), Plaintiffs certify as

follows:

      National Shooting Sports Foundation, Inc. has no parent company, and no

publicly held corporation owns 10% or more of NSSF stock.

      Beretta Holdings S.A. is the parent company of plaintiff Beretta U.S.A. Corp.

and owns more than 10% of Beretta U.S.A. Corp. Beretta U.S.A. Corp. is not

publicly traded, and therefore there is no publicly held corporation that owns 10%

or more of Beretta U.S.A. Corp. stock.

      CTCHGC LLC d/b/a Central Texas Gun Works has no parent company.

CTCHGC LLC d/b/a Central Texas Gun Works is not publicly traded, and

therefore there is no publicly held corporation that owns 10% or more of CTCHGC

LLC d/b/a Central Texas Gun Works stock.

      Davidson’s, Inc. has no parent company. Davidson’s, Inc. is not publicly

traded, and there therefore is no publicly held corporation that owns 10% or more of

Davidson’s, Inc. stock.

      GLOCK, Inc. has no parent corporation, and there is no publicly held

corporation owning 10% or more of GLOCK, Inc. stock.




                                         i
           Case 22-1374, Document 52, 10/07/2022, 3396088, Page3 of 70




      Hornady Manufacturing Company has no parent company, and there is no

publicly held corporation that owns 10% or more of Hornady Manufacturing

Company stock.

      Lipsey’s, LLC has no parent company. Lipsey’s, LLC is not publicly traded,

and therefore there is no publicly held corporation that owns 10% or more of

Lipsey’s, LLC stock.

      Osage County Guns has no parent company, and there is no publicly held

corporation that owns 10% or more of Osage County Guns stock.

      RSR Group, Inc. has no parent company. RSR Group, Inc. is not publicly

traded, and therefore there is no publicly held corporation that owns 10% or more of

RSR Group, Inc. stock.

      Shedhorn Sports Inc. has no parent company. Shedhorn Sports Inc. is not

publicly traded, and therefore there is no publicly held corporation that owns 10%

or more of Shedhorn Sports Inc. stock.

      SIG Sauer, Inc. is a wholly owned subsidiary of SIG SAUER US Holding

LP. No publicly held corporation owns 10% or more of SIG Sauer, Inc. stock.

      Smith & Wesson Inc. is a wholly owned subsidiary of Smith & Wesson

Brands, Inc. Smith & Wesson Brands, Inc. is publicly traded.




                                         ii
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page4 of 70




      Sports South LLC has no parent company. Sports South LLC is not

publicly traded, and therefore there is no publicly held corporation that owns 10%

or more of Sports South LLC stock.

      Sprague’s Sports Inc. has no parent company. Sprague’s Sports Inc. is not

publicly traded, and therefore there is no publicly held corporation that owns 10%

or more of Sprague’s Sports Inc. stock.

      Sturm, Ruger & Company, Inc. has no parent company, and no publicly

held corporation owns 10% or more of Sturm, Ruger & Company, Inc. stock.




                                          iii
               Case 22-1374, Document 52, 10/07/2022, 3396088, Page5 of 70




                                        TABLE OF CONTENTS

CORPORATE DISCLOSURE STATEMENT .......................................................... i

TABLE OF AUTHORITIES .................................................................................... vi

INTRODUCTION .................................................................................................... 1

STATEMENT OF JURISDICTION ......................................................................... 4

STATEMENT OF THE ISSUES .............................................................................. 4

STATEMENT OF THE CASE.................................................................................. 4

         A.       Legal and Factual Background ............................................................. 4
         B.       Procedural History.............................................................................. 15

SUMMARY OF ARGUMENT ............................................................................... 18

STANDARD OF REVIEW .................................................................................... 21

ARGUMENT .......................................................................................................... 21

I.       Section 898 Is Preempted By The PLCAA. ................................................. 21

         A.       Section 898 Authorizes Civil Actions That Do Not Fall Within
                  Any Exception to the PLCAA’s Broad Preemptive Scope. ............... 22
         B.       At a Minimum, §898 Is Preempted to the Extent it Authorizes
                  Suits That Require Neither Knowing Violations Nor
                  Proximate Cause. ................................................................................ 33

II.      Section 898 Violates The Commerce Clause. .............................................. 39

         A.       Section 898 Discriminates Against Interstate Commerce. ................. 39
         B.       Section 898 Unconstitutionally Regulates Transactions That
                  Take Place Entirely in Other States and Are Lawful Where
                  they Occur........................................................................................... 43
         C.       Section 898 Unduly Burdens Interstate Commerce. .......................... 49

III.     Section 898 Violates The Due Process Clause. ............................................ 51

CONCLUSION ....................................................................................................... 56
                                                           iv
        Case 22-1374, Document 52, 10/07/2022, 3396088, Page6 of 70




CERTIFICATE OF        COMPLIANCE         WITH      TYPE-VOLUME
    LIMITATION

CERTIFICATE OF SERVICE




                                    v
               Case 22-1374, Document 52, 10/07/2022, 3396088, Page7 of 70




                                    TABLE OF AUTHORITIES

Cases

Adames v. Sheahan,
   909 N.E.2d 742 (Ill. 2009) ...................................................................................9

Am. Booksellers Found. v. Dean,
  342 F.3d 96 (2d Cir. 2003) ........................................................................... 18, 48

Am. Civil Liberties Union v. Johnson,
  194 F.3d 1149 (10th Cir. 1999) ...........................................................................49

Armstrong v. Exceptional Child Ctr., Inc.,
  575 U.S. 320 (2015) ............................................................................................21

Baldwin v. G. A. F. Seelig, Inc.,
   294 U.S. 511 (1935) ..................................................................................... 46, 48

Bank of Am. Corp. v. City of Miami,
  137 S.Ct. 1296 (2017) .........................................................................................36

Briggs v. Bremby,
   792 F.3d 239 (2d Cir. 2015) ................................................................................21

Brown-Forman Distillers Corp. v. N.Y. State Liquor Auth.,
   476 U.S. 573 (1986) ......................................................................... 39, 43, 47, 48

Burrage v. United States,
  571 U.S. 204 (2014) ............................................................................................37

C & A Carbone, Inc. v. Town of Clarkstown,
  511 U.S. 383 (1994) ............................................................................................41

Camden Cnty. Bd. of Chosen Freeholders v. Beretta, U.S.A. Corp.,
  273 F.3d 536 (3d Cir. 2001) ..................................................................................5

Camps Newfound/Owatonna, Inc. v. Town of Harrison,
  520 U.S. 564 (1997) ..................................................................................... 39, 50

Carolina Trucks & Equip., Inc. v. Volvo Trucks of N. Am., Inc.,
  492 F.3d 484 (4th Cir. 2007) ...............................................................................48


                                                        vi
               Case 22-1374, Document 52, 10/07/2022, 3396088, Page8 of 70




Chem. Waste Mgmt., Inc. v. Hunt,
  504 U.S. 334 (1992) ..................................................................................... 40, 41

City of Chicago v. Beretta U.S.A. Corp.,
   821 N.E.2d 1099 (Ill. 2004) ..................................................................................6

City of Cincinnati v. Beretta U.S.A. Corp.,
   768 N.E.2d 1136 (Ohio 2002)...............................................................................5

City of Gary ex rel. King v. Smith & Wesson Corp.,
   801 N.E.2d 1222 (Ind. 2003) ................................................................................5

City of N.Y. v. Beretta U.S.A. Corp.,
   524 F.3d 384 (2d Cir. 2008) ........................................................................ passim

City of Philadelphia v. New Jersey,
   437 U.S. 617 (1978) ............................................................................................41

CSX Transp., Inc. v. McBride,
  564 U.S. 685 (2011) ............................................................................................36

Daniels Sharpsmart, Inc. v. Smith,
  889 F.3d 608 (9th Cir. 2018) ...............................................................................46

Delana v. CED Sales, Inc.,
  486 S.W.3d 316 (Mo. 2016)..................................................................................9

District of Columbia v. Beretta U.S.A. Corp.,
   940 A.2d 163 (D.C. 2008)...........................................................................8, 9, 11

Exxon Co., U.S.A. v. Sofec, Inc.,
   517 U.S. 830 (1996) ............................................................................................54

FCC v. Fox Television Stations, Inc.,
  567 U.S. 239 (2012) ............................................................................................51

Hamilton v. Beretta U.S.A. Corp.,
  750 N.E.2d 1055 (N.Y. 2001) ............................................................ 5, 52, 53, 54

Healy v. Beer Inst., Inc.,
  491 U.S. 324 (1989) ..................................................................................... 17, 43



                                                        vii
               Case 22-1374, Document 52, 10/07/2022, 3396088, Page9 of 70




Hillman v. Maretta,
   569 U.S. 483 (2013) ............................................................................................28

Holmes v. Secs. Inv. Prot. Corp.,
  503 U.S. 258 (1992) ............................................................................................36

Ileto v. Glock, Inc.,
    565 F.3d 1126 (9th Cir. 2009) .................................................................. 9, 10, 30

In re Methyl Tertiary Butyl Ether (MTBE) Prods. Liab. Litig.,
    725 F.3d 65 (2d Cir. 2013) ..................................................................................33

Int’l Paper Co. v. Ouellette,
    479 U.S. 481 (1987) ............................................................................................33

Jam v. Int’l Fin. Corp.,
  139 S.Ct. 759 (2019) ...........................................................................................36

James v. Arms Tech., Inc.,
  820 A.2d 27, (N.J. Super. Ct. App. Div. 2003) .....................................................5

Kansas v. Garcia,
  140 S.Ct. 791 (2020) ...........................................................................................21

Legato Vapors, LLC v. Cook,
   847 F.3d 825 (7th Cir. 2017) ...............................................................................46

Lexmark Int’l, Inc. v. Static Control Components, Inc.,
   572 U.S. 118 (2014) ............................................................................................36

Lopez v. United States,
  514 U.S. 549 (1995) ..................................................................................... 39, 40

NextEra Energy Cap. Holdings, Inc. v. Lake,
  48 F.4th 306 (5th Cir. 2022) ................................................................................50

People v. Sturm, Ruger & Co., Inc.,
  761 N.Y.S.2d 192 (N.Y. App. Div. 2003) ................................................... passim

Pike v. Bruce Church, Inc.,
   397 U.S. 137 (1970) ..................................................................................... 17, 49



                                                        viii
              Case 22-1374, Document 52, 10/07/2022, 3396088, Page10 of 70




SPGGC, LLC v. Blumenthal,
  505 F.3d 183 (2d Cir. 2007) ................................................................................46

Steur v. Glock,
   No. 1:22-cv-3192 (E.D.N.Y. filed May 31, 2022) ....................................... 24, 45

Tenn. Wine & Spirits Retailers Ass’n v. Thomas,
   139 S.Ct. 2449 (2019) .................................................................................. 38, 50

Testa v. Becker,
   910 F.3d 677 (2d Cir. 2018) ................................................................................21

Town of Southold v. Town of E. Hampton,
  477 F.3d 38 (2d Cir. 2007) ..................................................................... 41, 42, 50

W. & Atl. R.R. v. Henderson,
   279 U.S. 639 (1929) ............................................................................................53

Wash. State Dep’t of Soc. & Health Servs.
  v. Guardianship Est. of Keffeler,
  537 U.S. 371 (2003) ............................................................................................26

Constitutional Provisions

U.S. Const. art. I, §8, cl. 3 ........................................................................................38

U.S. Const. art. VI, cl. 2 .......................................................................................... 21

U.S. Const. amend. V, cl. 1 ..................................................................................... 32

Statutes

15 U.S.C. §7901(a) ................................................................................................6, 7

15 U.S.C. §7901(a)(4) ....................................................................................... 28, 31

15 U.S.C. §7901(a)(5) ............................................................................. 1, 15, 28, 35

15 U.S.C. §7901(a)(6) ................................................................................... 7, 50, 54

15 U.S.C. §7901(a)(7) ............................................................................. 6, 28, 30, 52

15 U.S.C. §7901(a)(8) ................................................................................................6


                                                          ix
              Case 22-1374, Document 52, 10/07/2022, 3396088, Page11 of 70




15 U.S.C. §7901(b) ................................................................................................. 32

15 U.S.C. §7901(b)(1)................................................................................................7

15 U.S.C. §7902(a) ......................................................................................... 1, 7, 22

15 U.S.C. §7903(3) ............................................................................................. 7, 22

15 U.S.C. §7903(4) ................................................................................. 7, 14, 17, 40

15 U.S.C. §7903(5)(A)..................................................................................... passim

15 U.S.C. §7903(5)(B) ...............................................................................................8

15 U.S.C. §7903(6) ....................................................................................................7

2021 Sess. Law News of N.Y., ch.237 (S. 7196) (McKinney’s) ................ 15, 23, 45

N.Y. Gen. Bus. Law §898-a(2).................................................................... 13, 23, 37

N.Y. Gen. Bus. Law §898-a(4).......................................................................... 23, 43

N.Y. Gen. Bus. Law §898-a(5).................................................................................34

N.Y. Gen. Bus. Law §898-a(6)................................................................ 4, 14, 17, 39

N.Y. Gen. Bus. Law §898-b .................................................................. 23, 26, 27, 39

N.Y. Gen. Bus. Law §898-b(1) ........................................................................ passim

N.Y. Gen. Bus. Law §898-b(2) ................................................................... 13, 34, 44

N.Y. Gen. Bus. Law §898-c(1).......................................................................... 12, 13

N.Y. Gen. Bus. Law §898-c(2).......................................................................... 14, 34

N.Y. Gen. Bus. Law §898-d ........................................................................ 14, 22, 44

N.Y. Gen. Bus. Law §898-e ........................................................................ 14, 22, 37

N.Y. Penal Law §15.05(2)-(3)..................................................................................34

N.Y. Penal Law §240.45 ............................................................................................9



                                                           x
               Case 22-1374, Document 52, 10/07/2022, 3396088, Page12 of 70




Protection of Lawful Commerce in Arms Act in 2005,
   Pub. L. No. 109-92, 119 Stat. 2095 (2005) ...........................................................7

Rule

Fed. R. App. P. 4(a)(1)(A) ......................................................................................... 4

Other Authorities

Gov. Andrew M. Cuomo, Governor Cuomo Signs First-in-the-Nation
  Gun Violence Disaster Emergency to Build a Safer New York,
  YouTube (July 6, 2021), https://bit.ly/3UyZoSx ..................................... 2, 12, 23

W. Page Keeton et al., Prosser and Keeton on Law of Torts
   (5th ed. 1984) ..................................................................................................... 36

Recent Legislation, Protection of Lawful Commerce in Arms Act,
  119 Harv. L. Rev. 1939 (2006) .............................................................................6

Sharon Walsh, Gun Industry Views Accord as Dangerous Crack in Its
   Unity, Wash. Post (Mar. 18, 2000), https://wapo.st/2Zcp5KS..............................6




                                                           xi
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page13 of 70




                                INTRODUCTION

      Rarely will this Court encounter a preemption case more straightforward than

this one. In 2005, Congress passed the Protection of Lawful Commerce in Arms Act

(“PLCAA”) to stamp out state and local efforts to hold law-abiding members of the

firearms industry liable for crimes committed by third parties involving firearms.

That is neither a matter of speculation nor a matter of debate. Congress explicitly

stated the PLCAA’s objective in the statute’s lengthy enumerated findings and

purposes: to prevent businesses engaged in lawful commerce in firearms and

ammunition from being held “liable for the harm caused by those who criminally or

unlawfully misuse firearm products or ammunition products that function as

designed and intended.” 15 U.S.C. §7901(a)(5). To that end, the law broadly

preempts any “civil action” “against a manufacturer or seller of a [firearm or related

product]” for injuries “resulting from the … misuse of [such product] by … a third

party.” Id. §§7902(a), 7903(5)(A). That rule is subject to only a narrow set of

exceptions, all for suits involving misconduct by the manufacturer or seller itself.

      The PLCAA does not mince words about its preemptive scope. But that did

not stop lawmakers in Albany from acting in defiance of federal law and the

Supremacy Clause. Displeased with Congress’ judgment, New York passed a law in

2021 to, in the Governor’s own words, “reinstate the public nuisance liability for

gun manufacturers” that states tried to impose two decades ago, in an avowed effort
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page14 of 70




to “right the wrong done 16 years [earlier]” when Congress enacted the PLCAA.

Gov. Andrew M. Cuomo, Governor Cuomo Signs First-in-the-Nation Gun Violence

Disaster Emergency to Build a Safer New York at 35:00-38:15, YouTube (July 6,

2021), https://bit.ly/3UyZoSx. True to the Governor’s word, General Business Law

§§898-a-e (“§898”) does exactly what the PLCAA prohibits, creating a civil action

under which “gun industry members” may be held liable for criminals’ misdeeds

simply for having “unreasonably” made, sold, or marketed a firearm that is later

misused in New York. If the Supremacy Clause means anything, that undisguised

state effort to “reinstate” what federal law expressly forbids cannot stand.

      The district court concluded otherwise only by reading one of the PLCAA’s

exceptions so broadly as to defeat the statute’s core mission. According to the court,

by exempting lawsuits alleging that a manufacturer or seller “knowingly violated a

State or Federal statute applicable to the sale or marketing of the product,” 15 U.S.C.

§7903(5)(A)(iii), the PLCAA empowered states to reinstate exactly the same kinds

of novel public nuisance suits—including one brought by New York itself—that led

Congress to enact the PLCAA, through the simple expedient of codifying the same

amorphous theories in statutes that “expressly” apply to firearms commerce. That

implausible reading of the so-called “predicate exception” would make nonsense of

the PLCAA, sneaking in through the back door what Congress kicked out the front.

In reality, text, structure, context, and common sense—not to mention this Court’s

                                          2
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page15 of 70




precedent—foreclose reading the “predicate exception to swallow the statute.” City

of N.Y. v. Beretta U.S.A. Corp., 524 F.3d 384, 403 (2d Cir. 2008).

      That is reason enough to invalidate §898. But it is not the only reason. In its

haste to countermand Congress’ judgment in the PLCAA, New York acted in ways

that are reserved for our national legislature. On its face, §898 applies only to

commerce involving firearms and related products that have moved in interstate

commerce. The law therefore discriminates against interstate commerce by its very

terms, in violation of the Commerce Clause. Making matters worse, §898 regulates

not just firearms commerce in New York, but firearms commerce anywhere, so long

as it has some ultimate effect in New York. Thus, if a manufacturer operating in

New Hampshire complies with all federal and New Hampshire laws but fails to

employ what New York deems to be “reasonable” theft-protection controls, then it

could be held be liable under §898 based entirely on its commercial activities in New

Hampshire if one of its firearms later finds its way into the hands of someone who

uses it to commit a crime in New York. That is no accident; the legislative findings

accompanying §898 acknowledge that §898 is designed to project New York law

into other states—yet another violation of the Commerce Clause. And on top of all

that, §898 gives zero guidance as to what it means to conduct lawful commerce in

firearms “unreasonably,” thus rendering the statute void for vagueness.

      For any and all of those reasons, this Court should reverse.

                                         3
           Case 22-1374, Document 52, 10/07/2022, 3396088, Page16 of 70




                       STATEMENT OF JURISDICTION

      The district court had jurisdiction under 28 U.S.C. §1331 and §1343(a)(3). It

entered final judgment dismissing plaintiffs’ complaint on May 25, 2022. Dkt.47.

Plaintiffs timely filed a notice of appeal on June 24, 2022. Dkt.24; see Fed. R. App.

P. 4(a)(1)(A). This Court has jurisdiction under 28 U.S.C. §1291.

                         STATEMENT OF THE ISSUES

      1.     Whether the PLCAA, which prohibits any “civil action … against a

manufacturer or seller of a [firearms] product” for injuries “resulting from the

criminal or unlawful misuse of a qualified product by … a third party,” 15 U.S.C.

§7903(5)(A), preempts §898, which authorizes such actions.

      2.     Whether §898, which applies only to interstate commerce, see N.Y.

Gen. Bus. Law §898-a(6), and imposes state-law liability for commercial

transactions that take place entirely out of state, violates the Commerce Clause’s

prohibitions on state laws that discriminate against or regulate interstate commerce.

      3.     Whether §898 violates the Due Process Clause by imposing sweeping

liability via vague terms based on the conduct of unrelated third parties.

                          STATEMENT OF THE CASE

      A.     Legal and Factual Background

      1. In the 1990s, state and local governments initiated a series of lawsuits in

response to concerns about violent crimes involving firearms. Yet rather than train

their sights on the criminals responsible for those acts, they sued federally licensed
                                          4
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page17 of 70




manufacturers and distributors of legal firearms that were lawfully manufactured,

lawfully sold, and functioned as intended. In 2003, for instance, the New York

Attorney General brought a sweeping lawsuit against “handgun manufacturers,

wholesalers and retailers,” alleging that their (highly regulated and lawful)

“manufacturing, distributing and marketing practices” had “created, contributed to,

and maintained a public nuisance,” on the theory that they should be held liable for

the acts of criminals who “illegally” use their products in a manner that

“endanger[ed] the health and safety” of New Yorkers. People v. Sturm, Ruger &

Co., Inc., 761 N.Y.S.2d 192, 194 (N.Y. App. Div. 2003). The New York courts

rejected that and similar efforts to saddle law-abiding industry participants with

liability for criminals’ misconduct. Id. at 195-204; see also Hamilton v. Beretta

U.S.A. Corp., 750 N.E.2d 1055 (N.Y. 2001). But similar suits proliferated, and some

courts were more solicitous of these novel theories. See, e.g., City of Cincinnati v.

Beretta U.S.A. Corp., 768 N.E.2d 1136, 1143-47 (Ohio 2002) (allowing, inter alia,

public nuisance claims); James v. Arms Tech., Inc., 820 A.2d 27, 50-53 (N.J. Super.

Ct. App. Div. 2003) (same); City of Gary ex rel. King v. Smith & Wesson Corp., 801

N.E.2d 1222, 1231-32 (Ind. 2003) (same).

      Not all such suits succeeded on the merits. See, e.g., Camden Cnty. Bd. of

Chosen Freeholders v. Beretta, U.S.A. Corp., 273 F.3d 536, 540 (3d Cir. 2001) (per

curiam); City of Chicago v. Beretta U.S.A. Corp., 821 N.E.2d 1099, 1147-48 (Ill.

                                         5
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page18 of 70




2004). But winning in court was not the only, or even the principal, objective; the

real goal was to hobble the firearms industry. Recognizing that “[t]he legal fees”

needed to defend against a rising tide of similar suits “alone” would have been

“enough to bankrupt the industry,” Sharon Walsh, Gun Industry Views Accord as

Dangerous Crack in Its Unity, Wash. Post (Mar. 18, 2000), https://wapo.st/2Zcp5KS,

state and local governments “pressed on” with their novel suits “regardless of their

chance of success, spending taxpayers’ money in a war of attrition against the

firearms industry,” Recent Legislation, Protection of Lawful Commerce in Arms Act,

119 Harv. L. Rev. 1939, 1940 (2006).

      Congress saw these lawsuits for what they were: a coordinated effort to saddle

the firearms industry with liability for the acts of criminals. The state and local

government plaintiffs not only pressed “theories without foundation in hundreds of

years of the common law and jurisprudence of the United States,” but also threatened

interstate comity, as much of the commercial conduct they sought to penalize took

place in another state where it was fully lawful. 15 U.S.C. §7901(a)(7)-(8). Their

novel suits also came at a substantial cost to individual rights, including the Second

Amendment right to keep and bear arms and industry members’ right to pursue their

trade. Id. §7901(a)(2), (6)-(7). And Congress found it simply unfair for state and

local governments to try to hold highly regulated and lawful businesses liable “for




                                          6
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page19 of 70




the harm caused by those who criminally or unlawfully misuse firearm products or

ammunition products that function as designed and intended.” Id. §7901(a)(5).

      To put an end to such efforts, Congress passed the Protection of Lawful

Commerce in Arms Act in 2005, Pub. L. No. 109-92, 119 Stat. 2095 (codified at 15

U.S.C. §§7901-7903). The PLCAA leaves no doubt about its objectives. The statute

begins by declaring that “imposing liability on an entire industry for harm that is

solely caused by others is an abuse of the legal system, … threatens the diminution

of a basic constitutional right and civil liberty, … and constitutes an unreasonable

burden on interstate and foreign commerce.” 15 U.S.C. §7901(a)(6). And it makes

its raison d’être explicit: The statute’s primary “purpose[]” is “[t]o prohibit causes

of action against manufacturers, distributors, dealers, and importers of firearms or

ammunition products, and their trade associations, for the harm solely caused by the

criminal or unlawful misuse of firearm products or ammunition products by others

when the product functioned as designed and intended.” Id. §7901(b)(1).

      To that end, the PLCAA broadly prohibits “any person,” “including any

governmental entity,” from bringing any “civil action” in federal or state court

against any licensed “manufacturer or seller” of a firearm, ammunition, or

component part thereof seeking any “relief[] resulting from the criminal or unlawful

misuse of a qualified product by … a third party.” Id. §§7902(a), 7903(3)-(6). That

sweeping express preemption is subject to only a limited handful of exceptions for

                                          7
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page20 of 70




actions in which the manufacturer or seller itself engaged in some well-defined type

of wrongful conduct. For example, the PLCAA exempts actions against licensed

sellers of firearms for negligence per se and negligent entrustment, 15 U.S.C.

§7903(5)(A)(ii), the latter of which is defined as supplying a firearm to someone

“the seller knows, or reasonably should know, … is likely to, and does, use the

product in a manner involving unreasonable risk of physical injury to the person or

others,” id. §7903(5)(B). It also exempts actions for breach of contract or warranty

and product defect, as well as actions brought by the U.S. Attorney General to

enforce certain specified federal laws. Id. §7903(5)(A)(iv)-(vi).

      Finally, the PLCAA exempts actions in which a licensed manufacturer or

seller is alleged to have “knowingly violated a State or Federal statute applicable to

the sale or marketing of [a firearm or related] product” and where “the violation was

a proximate cause of the harm for which relief is sought.” Id. §7903(5)(A)(iii). This

provision has come to be known as the “predicate exception” because, “to take

effect, it requires that the manufacturer or seller have committed an underlying (or

predicate) statutory violation.” District of Columbia v. Beretta U.S.A. Corp., 940

A.2d 163, 168 (D.C. 2008). Congress made clear, however, that not just any

statutory violation will suffice. By its terms, the exception covers only actions that

require a “knowing” violation that was “a proximate cause” of the plaintiff’s alleged

injury. And it includes two illustrative examples of the types of statutes that suffice,

                                           8
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page21 of 70




each of which imposes specific obligations on how firearms may be sold: a law

imposing record-keeping requirements on the firearms industry; and a law

prohibiting firearms suppliers from aiding, abetting, or conspiring in straw purchases

of their products. 15 U.S.C. §7903(5)(A)(iii)(I)-(II).

      2. In the wake of the PLCAA, state and local governments raised various

challenges to its constitutionality. But nearly every court—including this Court—to

confront such a challenge to the PLCAA has upheld the statute as consistent with

both the Constitution’s structural provisions and the Bill of Rights. See, e.g., City of

N.Y., 524 F.3d at 393-98; Ileto v. Glock, Inc., 565 F.3d 1126, 1139-40 (9th Cir. 2009);

Delana v. CED Sales, Inc., 486 S.W.3d 316, 323-24 (Mo. 2016); Adames v. Sheahan,

909 N.E.2d 742, 765 (Ill. 2009); District of Columbia, 940 A.2d at 172-73.

      Courts have also confronted—and repeatedly rejected—a variety of efforts to

read the PLCAA’s predicate exemption so broadly as to allow states to escape the

statute’s preemptive force through the simple expedient of codifying the kinds of

novel theories the statute was enacted to stamp out. Indeed, this Court rejected one

such effort shortly after the PLCAA was enacted. After the law took effect, New

York City sought to salvage the sweeping pre-PLCAA suit that it had brought under

the state’s general criminal nuisance statute, New York Penal Law §240.45. The

City argued (among other things) that its action fell within the predicate exception

“because [§240.45] is a statute ‘applicable to the sale or marketing of [firearms].’”

                                           9
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page22 of 70




City of N.Y., 524 F.3d at 399. This Court rejected that argument in no uncertain

terms. As the Court explained, “[t]he meaning of the term ‘applicable’ must be

determined here by reading that term in the context of the surrounding language and

of the statute as a whole.” Id. at 400. And reading “applicable” to encompass

literally any statute capable of being applied to the firearms industry not only would

be inconsistent with the much more specific laws in the illustrative examples that

inform the term’s meaning, but “would allow the predicate exception to swallow the

statute.” Id. at 403. The Court accordingly “constru[ed] the term ‘applicable to’ to

mean statutes that clearly can be said to regulate the firearms industry”—a test that

Penal Law §240.45 did not satisfy. Id. at 402, 404.

      The Ninth Circuit rejected a comparable argument in Ileto v. Glock, where the

plaintiffs argued that their suit against gun manufacturers and distributors satisfied

the predicate exception because “California’s general tort law is codified in its

civil code,” which (they said) meant that all California tort actions alleging that

firearms manufacturers and sellers are responsible for third-party-caused injuries are

actions under a “statute applicable to the sale or marketing of [a firearm].” 565 F.3d

at 1132-33. The court disagreed, reasoning that statutory text, structure, and purpose

all compel the conclusion “that Congress intended to preempt general tort law

claims” even when a state “codifie[s] those claims in its civil code.” Id. at 1138.




                                         10
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page23 of 70




      The D.C. Court of Appeals reached a similar conclusion in District of

Columbia v. Beretta. There, the District sued “various gun manufacturers, importers,

or distributors of firearms” for (among other things) alleged violations of D.C.’s

Assault Weapon Manufacturing Strict Liability Act (“SLA”), “which by its terms

would make these defendants ‘strictly liable in tort’ for death or injuries resulting

from the discharge of an assault weapon or machine gun they manufactured or sold.”

940 A.2d at 167, 170. The District argued that the SLA satisfies the predicate

exception simply because it is a “statute” that is “applicable to the sale or marketing

of [a firearm],” see 15 U.S.C. §7903(5)(A)(iii). The D.C. high court disagreed. As

the court explained, the SLA did not actually regulate how firearms were sold or

marketed; it “merely” “impose[d] a duty to pay compensation” if “a person is killed

or injured by the discharge of an assault weapon manufactured or sold by a named

defendant—an injury that may occur years after the manufacture or sale and despite

the utmost care taken in the manufacture or sale.” 940 A.2d at 170. That made the

SLA entirely unlike the illustrative “statutory ‘violations’” that Congress provided

in §7903(5)(A)(iii)(I)-(II), and instead exactly like the claims Congress enacted the

PLCAA to stamp out. Id. at 172-73.

      3. The PLCAA accomplished Congress’ goal of deterring intrepid state and

local governments from seeking to hold firearms manufacturers and sellers liable for

criminals’ misdeeds for a while. But not forever. In 2021, New York jumped back

                                          11
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page24 of 70




into the fray, enacting General Business Law §§898-a-e, a law specifically crafted

to try to circumvent the PLCAA. Indeed, the Governor openly touted §898 as an

avowed effort to “reinstate the public nuisance liability for gun manufacturers” that

the PLCAA was enacted to eliminate, so as to “right the wrong done 16 years” earlier

by Congress when it enacted the PLCAA. Cuomo, supra, at 35:00-38:15.

      To that end, §898 does two things. First, it reproduces, largely verbatim, the

text of Penal Law §240.45, the general criminal nuisance statute that this Court held

in City of New York v. Beretta is not a predicate statute under the PLCAA. The only

differences are (1) whereas §240.45 applies to acts and “person[s]” generally, §898

applies only to “the sale, manufacturing, importing[,] or marketing” of firearms or

related products by “gun industry members,” and (2) whereas §240.45 prohibits only

creating or maintaining a condition that “endangers the safety or health of the

public,” §898 prohibits “contribut[ing]” to such a condition too:

      No gun industry member, by conduct either unlawful in itself or
      unreasonable under all the circumstances shall knowingly or recklessly
      create, maintain or contribute to a condition in New York state that
      endangers the safety or health of the public through the sale,
      manufacturing, importing or marketing of a qualified product.

N.Y. Gen. Bus. Law §898-b(1) (bolded type showing alterations from the general

statute, Penal Law §240.45). Any failure to comply with that command “that results

in harm to the public” is “declared to be a public nuisance.” Id. §898-c(1).




                                         12
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page25 of 70




       Second, §898 requires “[a]ll gun industry members who manufacture, market,

import or offer for wholesale or retail sale any qualified product in New York state

[to] establish and utilize reasonable controls and procedures to prevent its qualified

products from being possessed, used, marketed or sold unlawfully in New York

state.” Id. §898-b(2). With one exception, §898 does not tie “reasonable controls

and procedures” to any of the many federal, state, and local laws with which firearms

manufacturers and sellers must already comply. 1 Nor does it in any other way

identify what controls and procedures are or are not “reasonable.” Instead, §898

offers only the singularly unhelpful guidance that “reasonable controls and

procedures” are “policies that include, but are not limited to[,] … instituting

screening, security, inventory and other business practices to prevent thefts of

qualified products as well as sales of qualified products to straw purchasers,

traffickers, persons prohibited from possessing firearms under state or federal law,

or persons at risk of injuring themselves or others.” Id. §898-a(2). Failure to abide

by the command to employ this unspecified universe of “controls and procedures”

is likewise “declared to be a public nuisance” if it “results in harm to the public.”

Id. §898-c(1).



   1
     The statute does define “reasonable controls and procedures” to include
“preventing deceptive acts and practices and false advertising and otherwise
ensuring compliance with all provisions of article twenty-two-A of this chapter.”
N.Y. Gen. Bus. Law §898-a(2).
                                         13
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page26 of 70




      Both the state attorney general and any city corporation may bring suit “to

enjoin and restrain” and “obtain restitution and damages” for violations of §898. Id.

§898-d. And “[a]ny person, firm, corporation[,] or association that has been

damaged as a result of” a violation of §898 may sue for damages. Id. §898-e.

Section 898 makes clear that a defendant’s intent is not relevant to liability: “The

existence of a public nuisance shall not depend on whether the gun industry member

acted for the purpose of causing harm.” Id. §898-c(2).

      Underscoring New York’s goal of nullifying the PLCAA, §898 defines

“[q]ualified product” to have the “the same meaning” that it has in the PLCAA, id.

§898-a(6), which in turn defines the term to mean “a firearm, … ammunition …, or

a component part [thereof], that has been shipped or transported in interstate or

foreign commerce,” 15 U.S.C. §7903(4). Section 898 thus oddly applies only if the

“qualified product” has at some point traveled in interstate commerce—a restriction

that is sensible and restrained when adopted by Congress, but is constitutionally

verboten when copied by a state. Conversely, while the “reasonable controls and

procedures” obligation (but not the prohibition on “creat[ing], maintain[ing] or

contribut[ing]” to a public nuisance) applies only to “gun industry members” that

operate in New York, nothing in the statute limits its application to their conduct in

New York. “Gun industry members” throughout the nation (indeed, the world) thus

now have an obligation to refrain from conduct anywhere that is lawful where it

                                         14
           Case 22-1374, Document 52, 10/07/2022, 3396088, Page27 of 70




occurs if it might be deemed to “create, maintain or contribute” to a public nuisance

in New York. And any member that operates in New York can be held liable for

failing to employ in some other state what New York deems to be “reasonable

controls and procedures,” even if federal, state or local law in that other place does

not impose whatever requirements New York deems “reasonable.”                        That

extraterritorial effect is not an accident; the findings accompanying the law

specifically tout it as an effort to address statistics indicating that most firearms used

in crimes in New York were purchased elsewhere. 2021 Sess. Law News of N.Y.,

ch.237, §1 (S. 7196) (McKinney’s).

      In short, both by design and in effect, §898 authorizes exactly what the

PLCAA prohibits: lawsuits holding members of the firearms industry liable “for the

harm caused by those who criminally or unlawfully misuse firearm products or

ammunition products that function as designed and intended.”                  15 U.S.C.

§7901(a)(5).

      B.       Procedural History

      Plaintiffs are the National Sports Shooting Foundation, Inc. (the trade

association for the firearm, ammunition, and hunting and shooting sports industry)

and 14 of its members, all of which are federal firearms licensees that manufacture

and/or sell firearms. Plaintiffs filed this lawsuit in the Northern District of New York

shortly after §898 took effect, seeking a preliminary injunction and a declaration that


                                           15
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page28 of 70




the statute is preempted by the PLCAA and unconstitutional under the Commerce

Clause and the Fourteenth Amendment. Dkts.1-2. The state moved to dismiss,

Dkt.35, and the district court granted the state’s motion to dismiss and denied

plaintiffs’ motion for preliminary injunction. A42.

      The district court first rejected plaintiffs’ claim that the PLCAA preempts

§898. The court acknowledged (with considerable understatement) that “[t]he

general public nuisance statute from City of New York and §898 here are generally

similar in content, except that §898 substitutes the term ‘gun industry member’ for

‘person.’” A49. But it concluded that substituting “gun industry member” for

“person” sufficed to make §898 “a State … statute applicable to the sale or marketing

of [firearms]” within the meaning of the predicate exception. Id. In reaching that

conclusion, the court made no mention of the two exemplar predicate statutes

Congress provided in the text. See 15 U.S.C. §7903(5)(A)(iii)(I)-(II). The court

likewise said nothing about the predicate exception’s explicit limitation to statutes

imposing only “knowing[]” liability or its requirement that “the violation” of a

predicate statute be “a proximate cause of the harm for which relief is sought.” See

id. §7903(5)(A)(iii). And while the court did not deny that §898 imposes liability

merely for lawfully selling, manufacturing, or marketing legal firearms, it made no

effort to explain how such a scheme could be consistent with the PLCAA, which—

as this Court recognized in City of New York—“Congress clearly intended to protect

                                         16
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page29 of 70




from vicarious liability members of the firearms industry who engage in the lawful

design, manufacture, marketing, distribution, importation, or sale of firearms.” 524

F.3d at 402. Nevertheless, the court concluded that PLCAA’s predicate exception

saves §898 from preemption. A46-50.

      The district court likewise rejected plaintiffs’ Commerce Clause claims. The

court acknowledged that §898 incorporates the PLCAA’s definition of “[q]ualified

product,” N.Y. Gen. Bus. Law §898-a(6), which is limited to firearms products

“shipped or transported in interstate or foreign commerce,” 15 U.S.C. §7903(4)

(emphasis added). A54. Section 898 thus by its terms applies only to interstate, not

intrastate, commerce.      Yet the court still rejected the argument that §898

discriminates against interstate commerce, reasoning that there cannot be any

discrimination against interstate commerce because it did not believe that any purely

“in-state commerce exists” to be favored in comparison. A55-56. The court also

rejected plaintiffs’ arguments under the Pike balancing test, see generally Pike v.

Bruce Church, Inc., 397 U.S. 137, 142 (1970), on the same ground. A56-57.

      The court next turned to whether §898 “directly controls commerce occurring

wholly outside the boundaries of a State.” Healy v. Beer Inst., Inc., 491 U.S. 324,

336 (1989). In the district court’s view, only state laws “controlling in-state and out-

of-state pricing of goods going into the state” can run afoul the extraterritoriality

principle enforced in the Healy line of cases. A58. The court therefore deemed the

                                          17
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page30 of 70




extraterritoriality principle irrelevant solely because §898 does not deal with pricing.

A58-59. In reaching that conclusion, the court made no mention of this Court’s

precedent squarely contradicting that aberrant theory. See, e.g., Am. Booksellers

Found. v. Dean, 342 F.3d 96, 99-104 (2d Cir. 2003) (invalidating, under the

Commerce Clause extraterritoriality principle, a Vermont law prohibiting

distribution of explicit materials to minors even in other states, because it “directly

regulated commerce” beyond Vermont’s borders).

      Finally, the court rejected plaintiffs’ vagueness claim on the ground that “[t]he

statute closely tracks the language of New York’s current general public nuisance

law, N.Y. Penal Law §240.45, which has been good law since 1965.” A64. The

court did not address §898-b(2), which imposes sweeping liability for failure to

“establish and utilize reasonable controls and procedures to prevent its qualified

products from being possessed, used, marketed or sold unlawfully in New York,”

and which has no historical pedigree whatsoever.

                          SUMMARY OF ARGUMENT

      New York enacted §898 for an undenied and undeniable reason: to subvert

the central promise of PLCAA by “reinstating” the state-law litigation that it

preempts. And §898 does exactly that, authorizing suits materially indistinguishable

from the novel efforts to hold manufacturers and sellers liable for the criminal misuse

of their firearms that Congress enacted the PLCAA to stamp out. New York claims


                                          18
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page31 of 70




the power to accomplish this blatant end-run around federal law through the

PLCAA’s so-called “predicate exception,” which exempts suits alleging that a

manufacturer or seller “knowingly violated a State or Federal statute applicable to

the sale or marketing of the product” if “the violation was a proximate cause of the

harm for which relief is sought.” 15 U.S.C. §7903(5)(A)(iii). But statutory text,

structure, and context—not to mention common sense—foreclose the state’s effort

to “allow the predicate exception to swallow the statute.” City of N.Y., 524 F.3d at

403. The point of the PLCAA was most certainly not to prompt states to codify the

nuisance theories the PLCAA aimed to eradicate.

      In reality, the predicate exemption does not, as the district court held, exempt

from preemption any lawsuit involving a statute that expressly applies to commerce

in firearms. It exempts only statutes that impose concrete regulatory obligations and

prohibitions on such commerce, not statutes that (like §898) simply impose a generic

duty to conduct lawful commerce in firearms “reasonably.” That is clear from the

predicate exception’s requirement that a violation be committed “knowingly,” which

presupposes an obligation or prohibition sufficiently concrete that one can know

what suffices to comply; from the illustrative examples Congress provided, which

all involve violations of unambiguous obligations or prohibitions; from Congress’

statutorily enumerated findings, which make clear that the kinds of laws Congress

had in mind are laws imposing concrete regulations; and from Congress’ statutorily

                                         19
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page32 of 70




enumerated findings, which make clear that slapping a different label on the same

novel public nuisance lawsuits would defeat the PLCAA’s central mission. Simply

put, the PLCAA aimed to stamp out nuisance suits altogether, not to encourage states

to codify them. At a bare minimum, §898 is preempted to the extent it does not even

require a “knowing” violation or proximate cause.

      And preemption is just one of the statute’s problems. In its zeal to override

Congress’ judgment, lawmakers in Albany purported to exercise powers reserved for

the national legislature. In fact, §898 violates the Commerce Clause three times

over. It does so first by discriminating against interstate commerce on its face, as

the state sought to countermand the PLCAA so directly that it enacted a definition

of “qualified product” that renders §898 applicable if and only if a firearm,

ammunition, or constituent part has traveled in interstate commerce. It does so next

by directly regulating commerce that occurs entirely outside New York’s borders—

an impermissible extraterritorial operation that the legislative findings confirm was

no mistake. And it does so finally by burdening interstate commerce in ways that

Congress has already declared to be too unreasonable to sustain. Moreover, the

statute leaves industry members guessing as to what conduct will or will not violate

it, rendering it void for vagueness, and extends liability far beyond what traditional

notions of fair play and proximate causation permit. In short, §898 is a compendium

of constitutional problems that should not be permitted to stand.

                                         20
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page33 of 70




                            STANDARD OF REVIEW

      “[A] district court’s grant of a motion to dismiss” is “review[ed] de novo,”

Testa v. Becker, 910 F.3d 677, 682 (2d Cir. 2018), as is a decision denying a motion

for a preliminary injunction when, as here, the “allegations of error … involve

questions of law,” Briggs v. Bremby, 792 F.3d 239, 241 (2d Cir. 2015).

                                   ARGUMENT

I.    Section 898 Is Preempted By The PLCAA.

      The Supremacy Clause provides that the Constitution, federal statutes, and

treaties are “the supreme Law of the Land.” U.S. Const. art. VI, cl. 2. The

Constitution thus establishes “a rule of decision” for determining whether federal or

state law applies. Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 324

(2015). When a federal law “imposes restrictions” and “a state law confers rights …

that conflict with the federal law, the federal law takes precedence and the state law

is preempted.” Kansas v. Garcia, 140 S.Ct. 791, 801 (2020).

      That is exactly the situation here. The PLCAA imposes a clear restriction:

Courts may not entertain any “civil action … against a manufacturer or seller of a

[firearms] product … for damages … or other relief, resulting from the criminal or

unlawful misuse of a qualified product by … a third party.” 15 U.S.C. §7903(5)(A).

Section 898 in turn confers rights that conflict with the PLCAA: It explicitly

authorizes both public and private parties to sue “gun industry members” for

damages and other relief resulting from a third party’s misuse of an industry
                                      21
           Case 22-1374, Document 52, 10/07/2022, 3396088, Page34 of 70




member’s lawfully sold product. N.Y. Gen. Bus. Law §§898-c, -d, -e. Indeed, the

Governor candidly acknowledged that the whole point of §898 is to try to “reinstate”

the kind of suits that the PLCAA was enacted to stamp out. That effort is preempted

at every turn.

      A.     Section 898 Authorizes Civil Actions That Do Not Fall Within Any
             Exception to the PLCAA’s Broad Preemptive Scope.

      1. Under the PLCAA, a “qualified civil liability action may not be brought in

any Federal or State court.” 15 U.S.C. §7902(a). The suits §898 authorizes plainly

fit that bill. The PLCAA defines a “qualified civil liability action” as a “[1] civil

action … [2] brought by any person” (“including any governmental entity”)

“[3] against a manufacturer or seller of a qualified product, or a trade association,

[4] for damages, punitive damages, injunctive or declaratory relief, abatement,

restitution, fines, or penalties, or other relief, [5] resulting from the criminal or

unlawful misuse of a qualified product by the person or a third party.” Id. §7903(3),

(5)(A).

      Section 898 suits satisfy every element. They clearly are civil actions that can

be brought by persons (individuals and New York officials alike) for damages and

other relief. See, e.g., N.Y. Gen. Bus. Law §§898-d, -e (authorizing, inter alia, “the

attorney general” and private “person[s]” to “bring an action” for, inter alia,

“damages” and “restitution”). They just as clearly can be brought “against a

manufacturer or seller of a qualified product, or a trade association.” 15 U.S.C.
                                         22
           Case 22-1374, Document 52, 10/07/2022, 3396088, Page35 of 70




§7903(5)(A). In fact, a suit under §898 can be brought only against such a party, as

the statute’s operative provisions apply only to “gun industry members.” N.Y. Gen.

Bus. Law §898-b; see id. §898-a(4) (defining “Gun industry member” to include

manufacturers and sellers of “firearms, ammunition, … and firearms accessories”).

      Finally, §898 authorizes recovery against “gun industry members” for injuries

“resulting from” third parties’ misuse of their products. That is the whole point of

the statute. As its codified “[l]egislative findings and intent” explain, §898 is

designed to facilitate efforts to hold those engaged in the “sale, manufacture,

distribution, importing or marketing of firearms … liable for” harms caused by “the

illegal use of firearms.” 2021 N.Y. Sess. Law ch.237, §1 (S. 7196) (McKinney).

The Governor likewise explained that §898 would “right the wrong done” by the

PLCAA by effectively “reinstat[ing]” lawsuits attempting to hold “gun

manufacturers” liable for the criminal misuse of their products. Cuomo, supra, at

35:00-38:15. And §898 does just that, subjecting a gun industry member to liability

for harm caused by criminal misuse of its products if (1) its “sale, manufacturing,

importing[,] or marketing” “create[s], maintain[s] or contribute[s] to a condition …

that endangers the safety or health of the public,” or (2) it fails to employ “reasonable

controls and procedures” to keep firearms out of the hands of third parties who

misuse them. N.Y. Gen. Bus. Law §§898-a(2), -b. Indeed, the very first lawsuit

brought under §898 seeks to hold a manufacturer liable for a third party’s criminal

                                           23
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page36 of 70




misuse of a handgun that it manufactured. See Steur v. Glock, No. 1:22-cv-3192

(E.D.N.Y. filed May 31, 2022). Section 898 suits are “qualified civil liability

actions” under the PLCAA.

      2. The only question, then, is whether suits under §898 fall within one of the

PLCAA’s exceptions. The answer is no. The state has never even tried to argue that

§898 suits fall within five of those six exceptions; it has invoked only the predicate

exception, which exempts “an action in which a manufacturer or seller of a qualified

product knowingly violated a State or Federal statute applicable to the sale or

marketing of the product, and the violation was a proximate cause of the harm for

which relief is sought.” 15 U.S.C. §7903(5)(A)(iii). But as this Court has already

recognized—as have other courts to consider the question—the predicate exception

cannot sensibly be read to exempt from the PLCAA’s reach any and all statutes that

apply to the firearms industry, as such a capacious reading “would allow the

predicate exception to swallow the statute, which was intended to shield the firearms

industry from vicarious liability for harm caused by firearms that were lawfully

distributed into primary markets.” City of N.Y., 524 F.3d at 403. Simply put, the

predicate exception cannot be read to exempt the very lawsuits that the PLCAA was

enacted to foreclose.

      The exception instead exempts only actions under statutes that impose

concrete obligations or prohibitions directly on industry members (and that could be

                                         24
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page37 of 70




tested for consistency with the Second Amendment), not statutes that (like §898)

impose only duties of care vis-à-vis the misconduct of third parties. That conclusion

follows directly from text, structure, context, and common sense. Starting with the

statutory text, this Court has already held that the term “applicable” in

§7903(5)(A)(iii) cannot be given its most capacious dictionary reading, but rather

must be read “in the context of the surrounding language and of the statute as a

whole.” Id. at 400. And both the immediately surrounding text and the language

that immediately follows provide clear indications that the predicate exception

applies only to laws that impose concrete obligations and prohibitions directly on

manufacturers and sellers with respect to manufacturing and sales.

      For one thing, the predicate exception by its terms exempts only civil actions

that require proof that the defendant “knowingly violated” the relevant statute. 15

U.S.C. §7903(5)(A)(iii) (emphasis added). That presumes some requirement or

obligation sufficiently concrete that a gun industry member can actually knowingly

violate it at the time of manufacture or sale. A manufacturer can knowingly comply

(or not comply) with a command to manufacture in certain ways, and a seller can do

the same with a command to conduct a background check, or to keep specified

records, or to not sell a firearm to someone known to be prohibited from possessing

one. But it is hard to fathom how a gun industry member who complies with the

multitude of federal, state, and local laws that explicitly state what it may and may

                                         25
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page38 of 70




not do would “know” that it nonetheless has failed to employ “reasonable controls

and procedures,” or has conducted its lawful business in a manner so “unreasonable

under all the circumstances” that it can be said to have “create[d], maintain[ed] or

contribute[d] to a condition in New York state that endangers the safety or health of

the public.” N.Y. Gen. Bus. Law §898-b.

      The illustrative examples Congress supplied of “a State or Federal statute

applicable to the sale or marketing of the product,” 15 U.S.C. §7903(5)(A)(iii),

likewise contemplate statutes that impose concrete and discrete obligations and

prohibitions on manufacture and sales, not statutes that impose broad duties of care

that could be alleged have been violated years after the manufacture or sale. “The

general language … []providing that predicate statutes are those ‘applicable to’ the

sale or marketing of firearms[] is followed by the more specific language referring

to statutes imposing record-keeping requirements on the firearms industry, 15 U.S.C.

§7903(5)(A)(iii)(I), and statutes prohibiting firearms suppliers from conspiring with

or aiding and abetting others in selling firearms directly to prohibited purchasers, 15

U.S.C. §7903(5)(A)(iii)(II).” City of N.Y., 524 F.3d at 402. “Thus,” under basic

principles of interpretation, the general “applicable to” language must be “construed

to embrace only objects similar to those enumerated by” the two specific examples

that follow. Id. (quoting Wash. State Dep’t of Soc. & Health Servs. v. Guardianship




                                          26
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page39 of 70




Est. of Keffeler, 537 U.S. 371, 384 (2003)). And each of those examples requires a

violation of a concrete obligation or prohibition.

      The first requires a knowing violation of a recordkeeping requirement, e.g.,

knowingly entering false information, knowingly failing to enter appropriate

information required at the time of the sale, or aiding, abetting, or conspiring with

someone to make a false statement material to the lawfulness of a sale. 15 U.S.C.

§7903(5)(A)(iii)(I). The second requires a knowing violation of the obligation not

to knowingly facilitate straw purchases, e.g., by aiding, abetting, or conspiring to

sell a firearm to someone the seller knows or has reasonable cause to believe is

buying it for a prohibited person. Id. §7903(5)(A)(iii)(II). Those examples look

nothing like §898, which effectively just commands gun industry members to

conduct their operations “reasonably,” without giving any guidance as to which

controls and procedures are “reasonable” or what conduct is “unreasonable under all

the circumstances,” and which could cover circumstances that become evident only

long after the manufacture or sale. See N.Y. Gen. Bus. Law §898-b.

      The PLCAA’s expressly enumerated findings reinforce the conclusion that the

predicate exception applies only to laws that impose concrete obligations or

prohibitions, not duties of care. As the statute explains, its chief aim is to foreclose

efforts to hold those engaged in “the lawful design, manufacture, marketing,

distribution, importation, or sale to the public of firearms or ammunition products”

                                          27
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page40 of 70




“liable for the harm caused by those who criminally or unlawfully misuse firearm

products or ammunition products that function as designed and intended.” 15 U.S.C.

§7901(a)(5). And as this Court explained in City of New York, the term “lawful”

there is best understood in light of statutory context to mean “activities having been

done in compliance with statutes like those described in” the immediately preceding

finding—i.e., “the Gun Control Act of 1968, the National Firearms Act, and the

Arms [Export] Control Act.” 524 F.3d at 402; see 15 U.S.C. §7901(a)(4). Those

statutes do not impose amorphous commands to manufacture and sell firearms

“reasonably.” They are comprehensive regulatory regimes that impose concrete

obligations and prohibitions with which industry members can confidently ensure

compliance (or, conversely, can sensibly be said to violate knowingly) in real time.

      Finally, reading the predicate exception to exempt statutes like §898 would

effectively gut the PLCAA. This is not a case in which one must comb through

obscure legislative history to divine “Congress’ purposes and objectives.” Hillman

v. Maretta, 569 U.S. 483, 491 (2013). Congress enshrined them right there in the

statute. The unambiguous objective of the PLCAA is to foreclose efforts to impose

liability on those engaged in lawful commerce in firearms through novel and

expansive “theories without foundation in hundreds of years of the common law and

jurisprudence of the United States,” 15 U.S.C. §7901(a)(7), like New York’s then-

pending effort to declare the lawful sale and manufacturing of firearms a public

                                         28
           Case 22-1374, Document 52, 10/07/2022, 3396088, Page41 of 70




nuisance, see Sturm, Ruger, 761 N.Y.S.2d at 194. The problem Congress had with

the pre-PLCAA nuisance suits thus was not that they were common-law suits. It

was that they would have held manufacturers and sellers liable for the criminal

conduct of others under vague standards with no historical pedigree. Congress’ aim

in enacting the PLCAA was not to prompt states to codify those same vague

standards in statute and “reinstate” the same unbounded liability. Instead, Congress

wanted to prohibit such liability, while creating a narrow exception for clear

requirements that could be complied with—or knowingly violated—in real-time,

and also could be tested for their compliance with the Second Amendment. Yet New

York has, by its own telling, empowered the state, cities, and private parties alike to

bring exactly the kinds of suits that the PLCAA was enacted to foreclose. Any

reading of the predicate exception that would allow states to sneak in through the

back door the very claims that Congress tossed out the front would put the PLCAA

at war with itself.

      3. The district court reached a contrary conclusion only by employing an

exceptionally wooden reading of both the predicate exception and this Court’s

decision in City of New York. The court did not deny that §898 purports to authorize

exactly the types of “actions” that this Court read the predicate exception not to cover

in City of New York. But according to the district court, that does not matter, as “the

only question … is whether §898 expressly regulates firearms.” A50. Thus, in the

                                          29
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page42 of 70




district court’s view, a lawsuit based on exactly the same theory of liability as the

public nuisance suit this Court already found could not be sustained after the PLCAA

somehow can be sustained if a state just declares its general public nuisance laws to

apply to the firearms industry in particular. Nothing in City of New York compels

that nonsensical result, and the PLCAA squarely forecloses it.

      The goal of the PLCAA is not to draw some arbitrary distinction between

actions that invoke statutes versus common-law or equitable actions. It is to protect

members of the firearms industry from efforts to subject them to liability, “based on

theories without foundation in hundreds of years of the common law and

jurisprudence of the United States [that] do not represent a bona fide expansion of

the common law,” for the criminal acts of those who misuse their products. 15

U.S.C. §7901(a)(7). In other words, the point is to preempt the kinds of novel claims,

grounded in radical deviations from traditional common-law principles, that were

being brought against the firearms industry. To be sure, the kinds of theories those

suits were invoking may “traditionally have been embodied in the common law”

rather than codified in statutes. Ileto, 565 F.3d at 1135-36. But the threat did not

come from the form of the lawsuit. The threat that Congress redressed came from

targeting the firearms industry with novel liability theories designed to hold them

liable for the criminal misconduct of third parties. And that threat does not turn on

whether the claims are brought based on purported common-law principles (as they

                                         30
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page43 of 70




were before the PLCAA), a generally applicable statute codifying the common law

(as they were in City of New York and Ileto), or a statute that codifies a novel

common-law theory exclusively as to the firearms industry (as they would be under

§898). Indeed, if anything, a statute like §898 poses the most obvious threat because

there is no pretense that the liability principles being applied are grounded in the

common law or would apply to any other industry.

      This Court certainly did not embrace such a topsy-turvy reading of the

PLCAA in City of New York. To the contrary, the Court there rejected the argument

that whether a statute falls within the predicate exception turns on whether it

“expressly regulate[s] the firearms industry.” 524 F.3d at 400. The Court instead

“constru[ed] the term ‘applicable to’ to mean statutes that clearly can be said to

regulate the firearms industry,” id. at 402 (emphasis added), which it described as

meaning “statutes like those described in subsection (a)(4)” of the PLCAA’s

findings—i.e., “the Gun Control Act of 1968, the National Firearms Act, and the

Arms Export Control Act,” 15 U.S.C. §7901(a)(4). What makes those statutes

different from a statute that simply codifies the common law is not that they single

out firearms, but that they actually regulate firearms (and/or commerce in them) in

concrete ways that the regulated community can understand and follow (or violate

knowingly).




                                         31
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page44 of 70




      The district court likewise adopted a deeply flawed view of the PLCAA when

determining whether its reading of the predicate exception conflicts with the

“purpose and objective” of the statute.       None of the provisions in 15 U.S.C.

§7901(b), titled “Purposes,” appears in the court’s analysis of the objectives against

which the statute must be interpreted, not even in passing. See A50-53. In place of

Congress’ explicit statement of its purposes in enacting the PLCAA as a whole, the

court looked to the predicate exception to divine Congress’ intent. A52. That gets

matters backward. One cannot look to an exception to understand the objective of

the statute as a whole. See City of N.Y., 524 F.3d at 403. Such an approach would

deem the purpose of the Grand Jury Clause to be denying servicemembers the

protection of the Grand Jury, rather than securing that right for the rest of us. See

U.S. Const. amend. V, cl. 1 (“No person shall be held to answer for a capital, or

otherwise infamous crime, unless on a presentment or indictment of a Grand Jury,

except in cases arising in the land or naval forces, or in the Militia, when in actual

service in time of War or public danger[.]”). That approach is even more misguided

when, as here, Congress made its objectives express.          Simply put, no valid

interpretive principle allows courts to stretch exceptions so broadly as to make the

general rule an afterthought—let alone to give exceptions primacy over statutorily

enumerated “findings” and “purposes” elucidating the rule’s primary operation.




                                         32
           Case 22-1374, Document 52, 10/07/2022, 3396088, Page45 of 70




      Had the district court faithfully followed Congress’ own statement of purpose,

the inexorable conflict between the PLCAA’s prime directive and §898 would have

followed ineluctably. Indeed, that conclusion would have followed all the same had

the district court simply faithfully followed precedent. This Court has made clear

that the PLCAA is “intended to shield the firearms industry from vicarious liability

for harm caused by firearms that were lawfully distributed into primary markets.”

City of N.Y., 524 F.3d at 403. That is the PLCAA’s “overriding” purpose, which must

inform the scope of both its preemptive reach and its exceptions. In re Methyl

Tertiary Butyl Ether (MTBE) Prods. Liab. Litig., 725 F.3d 65, 101 (2d Cir. 2013).

And §898 unabashedly frustrates that purpose by design and in effect. That not only

is an independent basis for preemption, see Int’l Paper Co. v. Ouellette, 479 U.S.

481, 494 (1987), but underscores that the predicate exception simply cannot be read

so broadly as to exempt efforts to “reinstate” the very litigation that the PLCAA was

enacted to inter.

      B.     At a Minimum, §898 Is Preempted to the Extent it Authorizes Suits
             That Require Neither Knowing Violations Nor Proximate Cause.

      Even assuming §898 qualified as “a State or Federal statute applicable to the

sale or marketing of the product,” that alone would not be enough to rescue §898

actions from the preemptive force of the PLCAA. The predicate exception exempts

only “an action in which a manufacturer or seller of a qualified product knowingly

violated a State or Federal statute applicable to the sale or marketing of the product,

                                          33
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page46 of 70




and the violation was a proximate cause of the harm for which relief is sought.” 15

U.S.C. §7903(5)(A)(iii) (emphases added). Yet §898 authorizes actions that do not

comply with either of the italicized requirements.

      First, by its terms, §898 does not require a violation of either of its two

categories of “prohibited activities” to be “knowing.” As to the first category—i.e.,

“creat[ing], maintain[ing] or contribut[ing] to a condition in New York state that

endangers the safety or health of the public through the sale, manufacturing,

importing or marketing of a qualified product”—§898 explicitly permits liability for

violating that command either “knowingly” or “recklessly.” N.Y. Gen. Bus. Law

§898-b(1). The statute expressly adopts New York’s definitions of those two terms,

id. §898-a(5), which make crystal clear that the latter does not require knowledge

that conduct violates the law, see N.Y. Penal Law §15.05(2)-(3). As for §898’s

second category of “[p]rohibited activities,” that provision does not contain any

mens rea at all; it just requires gun industry members to “establish and utilize

reasonable controls and procedures to prevent its qualified products from being

possessed, used, marketed or sold unlawfully in New York state.” N.Y. Gen. Bus.

Law §898-b(2). Industry members thus can be sued for mere failure to abide by that

amorphous command, without regard to whether they knew their “controls and

procedures” to be “unreasonable.” And lest there be any doubt about what role intent

has to play in such suits, the statute makes clear that the answer is none: “The

                                         34
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page47 of 70




existence of a public nuisance shall not depend on whether the gun industry member

acted for the purpose of causing harm.” Id. §898-c(2).

      Those are no minor deviations. The predicate exception makes a defendant’s

state of mind an essential element of the underlying substantive claim for a reason.

While the PLCAA is unquestionably designed to protect the firearms industry from

some types of lawsuits, Congress did not want to give industry participants blanket

immunity to violate the law or to preempt all state efforts to regulate them. But

Congress did very much want to ensure that those engaged in “the lawful design,

manufacture, marketing, distribution, importation, or sale to the public of firearms

or ammunition products” could not be held “liable for the harm caused by those who

criminally or unlawfully misuse firearm products or ammunition products that

function as designed and intended.” 15 U.S.C. §7901(a)(5). And one of the central

features of the lawsuits that led to the PLCAA was that they sought to impose

liability for the criminal acts of third parties based on generic theories of “reckless”

or “unreasonable” practices, even if the manufacturer or seller fully complied with

all applicable laws. See City of N.Y., 524 F.3d at 399, 403. By exempting only those

state laws that impose liability only if a manufacturer or seller “knowingly” violates

them, Congress ensured that the predicate exception would not enable states to evade

the PLCAA’s core command by sneaking the same sweeping “recklessness” or




                                          35
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page48 of 70




“unreasonableness” theories into their statutes. That is exactly what New York has

tried to accomplish through §898.

      Making matters worse, §898 does not appear to require proximate causation.

The predicate exception requires the conduct that violates the underlying statute to

be “a proximate cause of the harm” for which redress is sought.             15 U.S.C.

§7903(5)(A)(iii). Courts “ordinarily presume that ‘Congress intends to incorporate

the well-settled meaning of the common-law terms it uses,’” Jam v. Int’l Fin. Corp.,

139 S.Ct. 759, 769-70 (2019), and “proximate cause” is a familiar common-law

term. “The term ‘proximate cause’ is shorthand for a concept: Injuries have

countless causes, and not all should give rise to legal liability.” CSX Transp., Inc. v.

McBride, 564 U.S. 685, 692 (2011) (emphasis omitted) (citing W. Page Keeton et

al., Prosser and Keeton on Law of Torts §42, p.273 (5th ed. 1984)). To distinguish

proximate cause from cause-in-fact, courts have set down several guidelines:

“[F]oreseeability alone is not sufficient to establish proximate cause,” Bank of Am.

Corp. v. City of Miami, 137 S.Ct. 1296, 1305 (2017), and there must be a “direct

relation between the injury asserted and the injurious conduct alleged,” Holmes v.

Secs. Inv. Prot. Corp., 503 U.S. 258, 268 (1992). A proper “[p]roximate-cause

analysis” therefore entails asking “whether the harm alleged has a sufficiently close

connection to the conduct the statute prohibits.” Lexmark Int’l, Inc. v. Static Control

Components, Inc., 572 U.S. 118, 133 (2014).

                                          36
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page49 of 70




      Section 898 does not appear to require any such inquiry. To the contrary, the

whole point of the statute is to enable lawsuits based on the criminal misuse of (or

even mere illegal possession of) firearms by third parties, even if the defendant did

no business with the criminal, has no relation to the criminal, and had no control,

either factually or legally, over the criminal or the gun. For example, say a licensed

manufacturer sells a legal gun to a distributor who lawfully sells it to a retailer, who

lawfully sells it to a law-abiding consumer after conducting a background check and

complying with all other federal and state law requirements, yet the retailer does not,

in New York’s estimation, have adequate inventory controls. See N.Y. Gen. Bus.

Law §898-a(2)(a). If, years later, the gun is stolen from the lawful purchaser’s home

and illegally brought into and used in New York, the goal of §898 is to allow the

manufacturer, distributor, and retailer to all be sued. To that end, §898 allows “[a]ny

person … that has been damaged as a result of a gun industry member’s acts or

omissions in violation of this article … to bring an action for recovery of damages.”

N.Y. Gen. Bus. Law §898-e (emphasis added). The phrase “as a result of” is a classic

descriptor of “a but-for causal relationship,” not proximate cause. Burrage v. United

States, 571 U.S. 204, 213-14 (2014).

      Indeed, it is hard to see how §898 could not be intended to do away with

proximate cause given the history of the state’s efforts to treat the lawful sale and

manufacture of handguns as a public nuisance. Before the PLCAA was enacted,

                                          37
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page50 of 70




New York sued “handgun manufacturers, wholesalers and retailers,” claiming that

these gun industry members had “created, contributed to, and maintained a public

nuisance by their respective manufacturing, distributing and marketing practices.”

Sturm, Ruger, 761 N.Y.S.2d at 194. The state’s theory was that “illegally possessed

handguns are a common-law public nuisance,” and that “because [the defendants]

manufacture, distribute and market handguns allegedly in a manner that knowingly

places a disproportionate number of handguns in the possession of people who use

them unlawfully,” they “contributed to this public nuisance.” Id. The New York

courts rejected that theory because it “summarily ignore[d] … proximate cause and

the significance of the indisputable intervention of unlawful and frequently violent

acts of criminals—over whom defendants have absolutely no control—who actually,

directly, and most often intentionally, cause the cited harm.” Id. at 198-99. Section

898 thus must be intended to do away with proximate cause, as New York courts

have already concluded that the kinds of public nuisance suits §898 was enacted to

enable—i.e., suits seeking to impose “a ‘duty to control the conduct of third persons

so as to prevent them from harming others,’” id. at 196—would fail under

proximate-cause principles. For that reason, too, §898 is preempted.




                                         38
           Case 22-1374, Document 52, 10/07/2022, 3396088, Page51 of 70




II.   Section 898 Violates The Commerce Clause.

      A.     Section 898 Discriminates Against Interstate Commerce.

      The Constitution vests in Congress the “Power” to “regulate Commerce …

among the several States.” U.S. Const. art. I, §8, cl. 3. “Although the [Commerce]

Clause is framed as a positive grant of power to Congress,” the Supreme Court has

“long held that this Clause also prohibits state laws that unduly restrict interstate

commerce.” Tenn. Wine & Spirits Retailers Ass’n v. Thomas, 139 S.Ct. 2449, 2459

(2019). Applying that principle, the Court has consistently “struck down [state]

statute[s]” that “discriminate[] against interstate commerce.”        Brown-Forman

Distillers Corp. v. N.Y. State Liquor Auth., 476 U.S. 573, 579 (1986). Indeed, “[s]tate

laws discriminating against interstate commerce on their face are ‘virtually per se

invalid.’” Camps Newfound/Owatonna, Inc. v. Town of Harrison, 520 U.S. 564, 575

(1997). That is precisely what §898 does. By its terms, the statute imposes its new

burdens only on interstate, not wholly intrastate, commerce.

      Section 898’s operative provisions make it unlawful for gun industry members

(1) to “contribute to a condition in New York state that endangers the safety or health

of the public through the sale, manufacturing, importing or marketing of a qualified

product” and (2) to fail to “utilize reasonable controls and procedures to prevent

[their] qualified products from being possessed, used, marketed or sold unlawfully

in New York state.” N.Y. Gen. Bus. Law §898-b (emphases added). The statute


                                          39
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page52 of 70




operates, in other words, only on commerce that involves “qualified products.” The

state legislature was so fixated on countermanding the PLCAA that it adopted the

PLCAA’s own definition of that term, defining “‘[q]ualified product’ [to] have the

same meaning as … in 15 U.S.C. section 7903(4).” Id. §898-a(6). But because the

PLCAA is a federal statute, and Congress has only limited power to regulate wholly

intrastate commerce, see, e.g., Lopez v. United States, 514 U.S. 549 (1995), the

PLCAA applies only to products that have moved in interstate commerce: Under

§7903(4), the term “qualified product” means “a firearm, … ammunition …, or a

component part [thereof] that has been shipped or transported in interstate or

foreign commerce.” 15 U.S.C. §7903(4) (emphasis added). 2

       By it terms, then, §898 imposes obligations only when gun industry members

engage in commerce involving firearms products that have traveled in interstate

commerce. Section 898 thus effectively carves out all commerce involving products

made and sold entirely in New York while imposing severe burdens on commerce




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     That limitation is why this Court rejected a Commerce Clause challenge to the
PLCAA in City of New York. As the Court explained, “the PLCAA only reaches
suits that ‘have an explicit connection with or effect on interstate commerce,’” 524
F.3d at 394 (quoting Lopez, 514 U.S. at 562), in large part because its provisions
“apply to actions ‘brought … against a manufacturer or seller of a qualified product’
for relief from injuries ‘resulting from the criminal or unlawful misuse of a qualified
product,’ 15 U.S.C. §7903(5)(A)[,] where ‘qualified product means a firearm … or
a component part of a firearm or ammunition, that has been shipped or transported
in interstate or foreign commerce,” §7903(4),” id. (ellipses in original).
                                          40
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page53 of 70




involving products that were made in or shipped from another state. That is a

textbook Commerce Clause violation. See, e.g., Chem. Waste Mgmt., Inc. v. Hunt,

504 U.S. 334, 342 (1992) (holding that a state may not burden a transaction more

heavily “when it crosses state lines than when it occurs entirely within the State”).

While a limitation to interstate commerce may be necessary for a federal enactment,

it is verboten for a state law, as states lack to the power to single out interstate

commerce for special burdens. “Whatever New [York]’s ultimate purpose, it may

not be accomplished by discriminating against articles of commerce coming from

outside the State unless there is some reason, apart from their origin, to treat them

differently.” City of Philadelphia v. New Jersey, 437 U.S. 617, 626-27 (1978). And

New York has never even tried to offer any justification for its intrastate commerce

carveout. Section 898 unconstitutionally discriminates against interstate commerce.

      The district court did not deny that §898 means what it says, or that what it

says is facially discriminatory. Instead, the court concluded that the statute’s facial

discrimination somehow escapes invalidation because the court could not identify

any purely intrastate market to favor, since it assumed that most firearms and

ammunition have moved in interstate commerce at some point. See A56 (“Because

there is no in-state competitor, the state of New York cannot discriminate against

out-of-state commerce and in favor of in-state commerce.”). That is a non-sequitur.

When, as here, a state law facially discriminates against interstate commerce by

                                          41
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page54 of 70




imposing burdens on regulated entities unless their commerce takes place wholly in-

state, the state necessarily incentivizes the creation of an intrastate market. Whether

such a market has materialized yet is beside the point; incentivizing in-state

commerce at the expense of interstate commerce is one of the chief evils the

Commerce Clause seeks to prevent. See C & A Carbone, Inc. v. Town of Clarkstown,

511 U.S. 383, 390 (1994); Chem. Waste Mgmt., 504 U.S. at 339-40.

      Town of Southold v. Town of East Hampton, 477 F.3d 38 (2d Cir. 2007), cited

at A53, in no ways supports the district court’s contrary conclusion (and neither does

any other case). In Southold, a town in the Hamptons banned all ferries from docking

at its docks but allowed in-state excursion boats to operate out of them. Id. at 42.

This Court held that the law was not discriminatory even though ferries operate in

interstate commerce but excursion boats do not because the excursion-boat business

is an entirely separate industry from the ferry business. Id. at 49. Put another way,

treating different things differently is not discriminatory. But this case concerns an

apples-to-apples comparison. The exact same conduct is either regulated or not

based solely on whether it involves a product that has traveled in interstate

commerce. That is textbook discrimination against interstate commerce.

      In all events, even if it mattered, the district court’s assumption that “there is

no in-state competitor,” A56, was manifestly inappropriate at this stage of the

litigation. The court decided this case on a motion to dismiss. As the court

                                          42
           Case 22-1374, Document 52, 10/07/2022, 3396088, Page55 of 70




acknowledged, “Plaintiffs allege[d] that of the 131,952 federal firearms licensees in

the country, 3,827 of them operate in the state of New York,” A55 (citing Dkt.1

¶58)—in other words, that there is commerce in firearms taking place in New York.

Yet the district court simply assumed, without even purporting to identify any factual

support for its (faulty) assumption, that every firearm in New York either was

manufactured out of state or contains some “component part” that “originated out-

of-state.” If that is a question that really matters, then at a bare minimum it should

be resolved on a complete record that actually helps answer it.

      B.     Section 898 Unconstitutionally Regulates Transactions That Take
             Place Entirely in Other States and Are Lawful Where they Occur.

      The shortcomings of the Articles of Confederation left the Framers with

“special concern both with the maintenance of a national economic union unfettered

by state-imposed limitations on interstate commerce and with the autonomy of the

individual States within their respective spheres.” Healy, 491 U.S. at 335-36

(footnote omitted). Consistent with that concern, the Commerce Clause not only

prohibits discrimination against interstate commerce, but also precludes states from

regulating transactions that take place wholly outside their borders. A “statute that

directly controls commerce occurring wholly outside the boundaries of a State

exceeds the inherent limits of the enacting State’s authority.” Id. at 336.

      That rule admits of no exceptions. Even a state law that says nothing about

out-of-state commerce cannot stand if the law’s “‘practical effect’ [is] regulating

                                         43
           Case 22-1374, Document 52, 10/07/2022, 3396088, Page56 of 70




commerce occurring wholly outside th[e] State’s borders.” Id. at 332. Indeed, such

a statute “is invalid under the Commerce Clause” even if it facially “is addressed

only to” in-state conduct, and “whether or not the regulated [out-of-state] commerce

has effects within the State.” Id. at 332, 336; Brown-Forman, 476 U.S. at 579.

      Section 898 flatly violates that bedrock principle. Section 898 does not define

“gun industry member” to require that the entity do business in New York. See N.Y.

Gen. Bus. Law §898-a(4). And §898-b(1) by its terms prohibits any “gun industry

member,” not just one that operates in New York, from “knowingly or recklessly

creat[ing], maintain[ing] or contribut[ing] to a condition in New York state that

endangers the safety or health of the public through the sale, manufacturing,

importing or marketing of a qualified product.” Id. §898-b(1). A manufacturer that

does not engage in any commerce in New York therefore still could be held liable

under §898 for manufacturing, selling, or marketing its products in other states in

ways that meet with New York’s disapproval. Imposing state-law liability (and

damages and other relief) on out-of-state actors for actions taken entirely out of state

is the definition of unconstitutional extraterritorial state regulation.

      That is not §898’s only extraterritoriality problem. While §898-b(2) at least

applies only to “gun industry members who manufacture, market, import or offer for

wholesale or retail sale any qualified product in New York state,” its command that

such members employ “reasonable controls and procedures” is not limited to their

                                           44
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page57 of 70




commercial activities in New York. Id. §898-b(2) (emphasis added). Thus, if a gun

industry member who sells firearms in New York also sells them in Ohio, and it sells

a firearm in Ohio that later finds its way into the hands of someone who criminally

misuses it in New York, then §898 would appear to allow that seller to be sued for

the Ohio sale on the theory that it failed to use in Ohio what New York deems to be

“reasonable controls and procedures.” Making matters worse, §898 authorizes state

courts in New York to enjoin practices that violate its commands even if those

practices took place entirely out of state. See id. §898-d.

      Those are no mere hypotheticals. Section 898 has already been invoked to try

to hold an out-of-state manufacturer liable for the criminal misuse of one of its

firearms even though there is no allegation that the manufacturer manufactured,

marketed, sold, or imported the firearm in New York. See Steur v. Glock, No. 1:22-

cv-3192 (E.D.N.Y. filed May 31, 2022). The only evident connection that lawsuit

appears to have to New York is that New York is where a criminal illegally used the

firearm to perpetrate his crimes on a subway train. But, of course, §898 does not

regulate criminal misuse of a firearm. While criminal misuse (including illegal

possession) in New York may be a condition precedent to a lawsuit under §898, the

statute imposes liability only on gun industry members for their lawful commerce.

      Nor is the extraterritorial reach of §898 an accident. To the contrary, the

legislative findings accompanying §898 explicitly justify the statute on the basis that

                                          45
           Case 22-1374, Document 52, 10/07/2022, 3396088, Page58 of 70




“74% of firearms used in crimes in New York are purchased outside of New York,”

hence making clear the legislature’s express desire to regulate the “unreasonable

sale, manufacture, distribution, importing or marketing of firearms” outside of New

York. 2021 N.Y. Sess. Law ch.237, §1. There is thus no denying that §898 regulates

commerce that takes place in other states, in plain violation of the constitutional

prohibition on extraterritorial state regulation.

      The district court did not dispute that §898 has “the practical effect of

requiring out-of-state commerce to be conducted at the regulating state’s direction.”

SPGGC, LLC v. Blumenthal, 505 F.3d 183, 193 (2d Cir. 2007). Instead, the court

insisted that it does not matter that §898 directly regulates out-of-state commerce.

The court first posited that “compliance with regulations regarding the safe

manufacturing, marketing, or selling of a product … is wholly outside the concerns

of the extraterritoriality-dormant Commerce Clause doctrine.” A58. That could not

be more wrong.        The state law in the very first of the Supreme Court’s

extraterritoriality cases, Baldwin v. G. A. F. Seelig, Inc., 294 U.S. 511 (1935), was

all about product safety. Baldwin invalidated the New York Milk Control Act under

the Commerce Clause even though “the end to be served by the” act was “the

maintenance of a regular and adequate supply of pure and wholesome milk,” id. at

522-23, because the law directly regulated transactions in other states, id. at 521.

Numerous cases in the intervening decades have followed suit. See, e.g., Daniels

                                           46
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page59 of 70




Sharpsmart, Inc. v. Smith, 889 F.3d 608, 612-16 (9th Cir. 2018) (enjoining California

law that purported to “dictate the method by which” medical-waste companies treat

medical waste “outside of California” because it “reach[ed] beyond the borders of

California [to] control transactions that occur wholly outside of the State”); Legato

Vapors, LLC v. Cook, 847 F.3d 825 (7th Cir. 2017) (invalidating Indiana law that

imposed requirements on manufacturing of vapor liquids used in e-cigarettes sold in

Indiana because it regulated manufacturing that took place out of state).

      The district court brushed aside these and other similar cases on the theory

that “Section 898 in no way differs from the extraterritorial effect of the myriad of

safety state laws and regulations with which every industry must comply.” A59.

That claim elides the critical distinction between a law that indirectly impacts out-

of-state commerce and a law that directly regulates it. Laws that regulate conduct

occurring in one state of course will often have upstream or downstream impacts in

another, at least when it comes to companies that conduct activities in multiple states.

But the mine-run state law impacts out-of-state commerce only by virtue of how it

regulates in-state commerce. Section 898, by contrast, regulates the out-of-state

commerce itself. If a Missouri gun manufacturer is deemed to have failed to institute

sufficient theft-protection processes in Missouri to prevent criminals from obtaining

its products and using them in New York, then the manufacturer can be held be liable

under §898 based entirely on its commercial activities in Missouri.

                                          47
           Case 22-1374, Document 52, 10/07/2022, 3396088, Page60 of 70




      To be sure, a suit cannot be brought under §898 unless some harmful condition

exists or harmful conduct occurs in New York. But as the Supreme Court made clear

in Brown-Forman, “[t]he mere fact that the effects of” a state’s law “are triggered

only by” something that ultimately happens “within” the state “does not validate the

law if it regulates … out-of-state transactions.” 476 U.S. at 580. Indeed, it does not

even matter if (unlike here) a state limits its law to transactions in goods that are

ultimately destined to be sold in state. The statute at issue in Baldwin, for instance,

“applied only to milk that would eventually be sold to New York consumers.”

Carolina Trucks & Equip., Inc. v. Volvo Trucks of N. Am., Inc., 492 F.3d 484, 491

(4th Cir. 2007) (discussing Baldwin); see Baldwin, 294 U.S. at 518-20. Yet the Court

still held it unconstitutional because, under the Commerce Clause, “New York has

no power to project its legislation into [other states] by regulating [commerce]

there.” Baldwin, 294 U.S. at 521. New York’s effort to impose liability on out-of-

state transactions that do not comply with §898 makes all the difference—and it

makes §898 patently unconstitutional under the extraterritoriality doctrine.

       The district court alternatively claimed that this Court has limited the

extraterritoriality doctrine to state laws regulating the price of goods sold out of state.

A58-59. In fact, this Court has squarely applied the doctrine to invalidate laws

having nothing to do with pricing. In American Booksellers Foundation v. Dean,

342 F.3d 96 (2d Cir. 2003), for instance, the Court invalidated a Vermont law that

                                            48
           Case 22-1374, Document 52, 10/07/2022, 3396088, Page61 of 70




prohibited distribution of explicit materials to minors because it regulated what

people could distribute in other states, and thus “[i]n practical effect … ‘projected

[Vermont law] into other States, and directly regulated commerce therein,’ in

violation of the dormant Commerce Clause.” Id. at 104 (quoting Brown-Forman,

476 U.S. at 584). That Vermont law manifestly did not regulate pricing, yet this

Court still struck it down under the Commerce Clause extraterritoriality principle.

And American Booksellers is no outlier. See, e.g., Am. Civil Liberties Union v.

Johnson, 194 F.3d 1149, 1161 (10th Cir. 1999) (invalidating similar New Mexico

law on the same grounds). The extraterritoriality doctrine thus plainly prohibits

states from regulating out-of-state commerce, not just out-of-state pricing. And by

attempting to subject wholly out-of-state conduct to state-law liability based solely

on its purported effects in New York, §898 runs afoul of that command.

      C.     Section 898 Unduly Burdens Interstate Commerce.

      Even apart from its explicit discrimination against interstate commerce and its

impermissible extraterritorial application, §898 cannot survive Pike balancing. A

state law that does not clearly discriminate against interstate commerce can still

violate the Commerce Clause if the burdens it imposes on interstate commerce

clearly exceed the putative local gains. See Pike, 397 U.S. at 142. Section 898

flunks that test by any measure.      By design, the burdens §898 imposes fall

disproportionately—indeed, by the district court’s estimation, entirely—on interstate


                                         49
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page62 of 70




(and mostly out-of-state) commerce. And Congress’ own findings in the PLCAA

eliminate any doubt that any putative benefits to New York could outweigh the costs

it would inflict on the rest of the nation to green-light novel lawsuits that “erode[]

public confidence in our Nation’s laws, threaten[] the diminution of a basic

constitutional right and civil liberty, invite[] the disassembly and destabilization of

other industries and economic sectors lawfully competing in the free enterprise

system of the United States, and constitute[] an unreasonable burden on interstate

and foreign commerce of the United States.” 15 U.S.C. §7901(a)(6). At a bare

minimum, the fact-intensive inquiry that the Pike test entails makes the district

court’s “pleadings-stage dismissal of” this claim “premature.” NextEra Energy Cap.

Holdings, Inc. v. Lake, 48 F.4th 306, 327 (5th Cir. 2022); see also, e.g., Town of

Southold, 477 F.3d at 52.

                                    *     *      *

      The flaws in the district court’s Commerce Clause analysis are not just

doctrinal missteps; they threaten the entire edifice of our federal constitutional

system. If the absence of an in-state market empowers a state to regulate interstate

markets, and the extraterritoriality doctrine has nothing to say about such efforts

even when they are expressly designed to reach wholly out-of-state conduct, then

states have carte blanche to impose their regulatory preferences on other states. A

state that lacks coal mines could freely craft tort laws that regulate coal mining in

                                          50
           Case 22-1374, Document 52, 10/07/2022, 3396088, Page63 of 70




West Virginia, or a state that has no abortion clinics could target clinics in other

states. That would be chaos, and it would bring about the very Balkanization the

Commerce Clause exists to prevent. See Tenn. Wine, 139 S.Ct. at 2461; Camps

Newfound, 520 U.S. at 577. None of that makes sense, least of all in a context where

Congress has explicitly found that the very kind of regulation a state seeks to project

into its sister states “constitutes an unreasonable burden on interstate and foreign

commerce of the United States.” 15 U.S.C. §7901(a)(6).

III.   Section 898 Violates The Due Process Clause.

       Section 898 violates due process in two related respects. First, it is void for

vagueness, as it fails to “give fair notice of conduct that is forbidden or required.”

FCC v. Fox Television Stations, Inc., 567 U.S. 239, 253 (2012). A gun industry

member can be held to violate §898 merely for, among other things, “recklessly …

contribut[ing] to a condition in New York state that endangers the safety or health of

the public.” N.Y. Gen. Bus. Law §898-b(1). Such conditions ostensibly include

crimes involving firearms. But how does a gun industry member “contribute” to

such a crime “through the sale, manufacturing, importing or marketing of [one of

its] product[s]”? The statute provides no direction on what a gun industry member

is supposed to do to avoid the risk of being saddled with such liability. The statute

also requires a gun industry member to “establish and utilize reasonable controls and

procedures to prevent its qualified products from being possessed, used, marketed


                                          51
           Case 22-1374, Document 52, 10/07/2022, 3396088, Page64 of 70




or sold unlawfully in New York,” id. §898-b(1), yet it gives no guidance whatsoever

as to what controls are or are not reasonable, thus once again leaving industry

members to guess at what will be deemed sufficient to avoid being saddled with

liability for the independent decisions of criminals to misuse their products. All of

that leaves the distinct impression that the only truly viable option to avoid liability

under §898 is to get out of the industry altogether. That is the definition of a vague

law.

       The district court rejected plaintiffs’ vagueness claim on the theory that §898

is no different in substance from New York’s longstanding “general public nuisance

law.” A64. That, of course, begs the question how the PLCAA could preempt the

latter but not the former. It also completely ignores §898-b(2) and its “reasonable

controls and procedures” language, which has no historical pedigree whatsoever.

But setting all of that aside, as Congress explained in the PLCAA, the whole problem

with trying to employ public nuisance doctrine (or any other common-law doctrine,

even if codified) to hold the firearms industry liable for the criminal misuse of their

products is that such efforts are “based on theories without foundation in hundreds

of years of the common law and jurisprudence of the United States and do not

represent a bona fide expansion of the common law.” 15 U.S.C. §7901(a)(7).

       Indeed, the New York courts themselves have already recognized that “gun

manufacturers” generally “do not owe a ‘duty to control the conduct of third persons

                                          52
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page65 of 70




so as to prevent them from harming others’” under New York’s public nuisance law.

Sturm, Ruger, 761 N.Y.S.2d at 196 (emphasis added) (quoting Hamilton, 750 N.E.2d

at 1061). And the First Department expressly rejected New York’s prior efforts “to

widen the range of common-law public nuisance claims in order to reach the legal

handgun industry.” Id. at 196, 198; see also Hamilton, 750 N.E.2d at 1060-61

(refusing to extend a duty to gun industry members, in suit by private parties on a

negligent marketing theory, because it would result in “limitless liability to an

indeterminate class of persons”). Yet the whole point of §898 is to impose liability

in just such cases. Section 898 thus cannot plausibly be understood as merely

codifying some known and knowable body of law.

      Making matters worse, §898 is textually different—and, as a result, broader

and less clear—than preexisting New York public nuisance law. Section 898

imposes liability merely for “contribut[ing] to a condition in New York state that

endangers the safety or health of the public.” N.Y. Gen. Bus. Law §898-b(1)

(emphasis added). Neither New York common law nor Penal Law §240.45 stretches

that far, and there is no settled common-law understanding of what it means to

“contribute” to remote, far-downstream conditions created by third parties over

which a defendant has no legal or factual control. That is unsurprising, as the

common law has never permitted the imposition of such freewheeling liability.




                                        53
           Case 22-1374, Document 52, 10/07/2022, 3396088, Page66 of 70




        That points to the second due process problem with §898. As the Sturm, Ruger

and Hamilton courts discussed at length, attempts to use negligence law to reach gun

industry members stretch traditional notions of proximate cause well past the

breaking point and violate basic notions of fairness. See Sturm, Ruger, 761 N.Y.S.2d

at 198-99; Hamilton, 750 N.E.2d at 1061-62. It has long been established that “a

presumption that is arbitrary, or that operates to deny a fair opportunity to repel it,

violates the due process clause.” W. & Atl. R.R. v. Henderson, 279 U.S. 639, 642

(1929). And the Supreme Court has recognized that eliminating proximate cause

“would produce extreme results” that would be fundamentally unfair. Exxon Co.,

U.S.A. v. Sofec, Inc., 517 U.S. 830, 838 (1996). “Somewhere a point will be reached

when courts will agree that the link has become too tenuous—that what is claimed

to be consequence is only fortuity.” Id. Section 898 enshrines in law the idea that

courts ought to reach that point and cross it. The statute is designed to assign blame

where “the connection between defendants, the criminal wrongdoers and plaintiffs

is remote, running through several links in a chain consisting of at least the

manufacturer, the federally licensed distributor or wholesaler, and the first retailer

[and] … often … numerous subsequent legal purchasers or even a thief.” Hamilton,

96 N.Y.2d at 234. None of that comports with due process or basic notions of fair

play.

                                    *     *      *

                                          54
           Case 22-1374, Document 52, 10/07/2022, 3396088, Page67 of 70




       Ultimately, it is little surprise that §898 suffers from so many fatal defects.

That is what happens when a state unabashedly sets out to reinstate litigation that

Congress has declared “an abuse of the legal system” that “erodes public confidence

in our Nation’s laws, threatens the diminution of a basic constitutional right and civil

liberty, invites the disassembly and destabilization of other industries and economic

sectors lawfully competing in the free enterprise system of the United States, and

constitutes an unreasonable burden on interstate and foreign commerce of the United

States.” 15 U.S.C. §7901(a)(6). New York is certainly free to disagree with

Congress’ judgment. But it is not free to override it. By endeavoring to do so, §898

runs afoul of the Constitution several times over. The district court’s contrary

conclusion should be reversed. 3




   3
     The district court denied plaintiffs’ motion for a preliminary injunction as moot.
A67. If the Court resolves this appeal in a way that renders the propriety of
preliminary injunctive relief relevant, it should remand with instructions that
plaintiffs are free to pursue such relief once again.
                                          55
         Case 22-1374, Document 52, 10/07/2022, 3396088, Page68 of 70




                                CONCLUSION

     For the reasons set forth above, this Court should reverse.

                                            Respectfully submitted,

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                                       56
          Case 22-1374, Document 52, 10/07/2022, 3396088, Page69 of 70




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October 7, 2022

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          Case 22-1374, Document 52, 10/07/2022, 3396088, Page70 of 70




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      I hereby certify that, on October 7, 2022, an electronic copy of the foregoing

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counsel appearing in this case.




                                           s/Erin E, Murphy
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